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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

Andrew Lyles, #667516
                                                             Case No.: 2:19-cv-10673
      Plaintiff,                                  District Judge: Laurie J. Michelson
                                                  Magistrate Judge: Kimberly Altman
v.

Papendick et al

      Defendants,


 LAURENCE H. MARGOLIS P.C.                    CHAPMAN LAW GROUP
 Ian Cross (P83367)                           Madeline Young (P82140)
 Attorney for Plaintiff                       Attorneys for Sharon Oliver, M.D.
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 Michigan Dept. of Attorney General
 Jennifer A. Foster (P75947)
 Attorney for MDOC Defendants
 P.O. Box 30217
 Lansing, MI 48909
 (517) 335-3055
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          STIPULATED ORDER EXTENDING DISCOVERY AND
              DISPOSITIVE MOTION DEADLINES 60 DAYS

      This matter having come before the Court based upon the stipulation of the

parties, and the court being fully advised in the premises;

      It is hereby ORDERED that, due to the additional time needed to complete

discovery, the parties hereby stipulate to:
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      An extension of discovery through October 11, 2021; and

      An extension of dispositive motion deadlines through November 11, 2021.



Date: 7/29/2021                 s/Kimberly G. Altman
                                HON. KIMBERLY G. ALTMAN
                                United States District Court Magistrate

Stipulated to by:
/s/ Ian Cross (w/ permission)                      /s/ Madeline R. Young
Ian Cross (P83367)                                 Madeline Young (P82140)
Attorney for Plaintiff                             Attorney for Corizon
Defendants

/s/ Jennifer Foster (w/ permission)
Jennifer A. Foster (P75947)
Attorney for the MDOC Defendants




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